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                                                                  FILED IN CHAMBERS
                                                                   U.S.D.C ATLANTA
                  IN THE UNITED STATES DISTRICT COURT   Jun 07 2022
                                                  Date: _________________________
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION      KEVIN P. WEIMER , Clerk
                                                                s/Kari Butler
                                                            By: ____________________________
GERALD LYNN BOSTOCK,                                                   Deputy Clerk

        Plaintiff,
                                            CIVIL ACTION FILE NO.
v.
                                            1:16-CV-001460-ELR-WEJ
CLAYTON COUNTY,

        Defendant.


                 FINAL REPORT AND RECOMMENDATION

        Plaintiff, Gerald Lynn Bostock, alleges that his former employer, Clayton

County, Georgia, discriminated against him on the basis of his sexual orientation

in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

(“Title VII’). (See Third Am. Compl. [101] Count I.) After an extended period of

discovery, the parties filed cross-motions for summary judgment. As discussed

below, the undersigned REPORTS that there are disputed issues of material fact

for trial; therefore, the undersigned RECOMMENDS that plaintiff’s Motion for

Summary Judgment [127] be DENIED, and that defendant’s Motion for Summary

Judgment [136] be DENIED.
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I.      STATEMENT OF FACTS

        In support of his Motion for Summary Judgment, plaintiff as movant filed a

Statement of Undisputed Material Facts (“PSUMF”) [127-2]. See N.D. Ga. Civ.

R. 56.1(B)(1). As required by Local Civil Rule 56.1(B)(2)(a), defendant submitted

a response. (See Def.’s Resp. to Pl.’s Stat. Undisp. Mat. Facts [155] (“DR-

PSUMF”).) As allowed by Local Civil Rule 56.1(B)(2)(b), defendant submitted a

statement of additional material facts. (See Def.’s Stat. of Addt’l Mat. Facts

Demonstr’g that Summ. J. Should be Denied [156] (“DSAMF”).) Finally, as

required by Local Civil Rule 56.1(B)(3), plaintiff filed a response to DSAMF. (See

Pl.’s Resp. & Objs. to Def.’s Stat. Addt’l Mat. Facts [165] (“PR-DSAMF”).)

        In support of its Motion for Summary Judgment, defendant as movant filed

a Statement of Material Facts (“DSMF”) [136-1]. See N.D. Ga. Civ. R. 56.1(B)(1).

As required by Local Civil Rule 56.1(B)(2)(a), plaintiff submitted a response. (See

Pl.’s Resps. & Objs. to Def.’s Stat. Mat. Facts [158] (“PR-DSMF”).) As allowed

by Local Civil Rule 56.1(B)(2)(b), plaintiff submitted his own statement of

additional material facts. (See Pl.’s Stat. of Addt’l Facts Present’g Gen. Issues for

Trial [159] (“PSAMF”).) Finally, as required by Local Civil Rule 56.1(B)(3),

defendant filed a response to PSAMF. (See Def.’s Resp. to Pl.’s Stat. Addt’l Mat.

Facts [163] (“DR-PSAMF”).)

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      The Court uses the parties’ proposed facts and their responses thereto under

the following conventions. Where one side admits a proposed fact (in whole or in

part), the Court accepts it (or the part admitted) as undisputed for purposes of these

Motions and cites only the proposed fact. Where one side denies a proposed fact

(in whole or in part), the Court reviews the record cited and determines whether a

fact dispute exists. If the denial is without merit, and the record citation supports

the proposed fact, then the Court deems it admitted and includes it herein. The

Court sometimes modifies a proposed fact per the opposing party’s response or the

record cited. Given the duplication between PSUMF and DSMF, the Court

sometimes cites one and employs a “see also” signal to the other.1 Finally, the

Court excludes immaterial proposed facts, includes some facts drawn from its own

review of the record, see Fed. R. Civ. P. 56(c)(3), and considers all proposed facts

in light of the standards for summary judgment, set out infra Part II.




      1
        Because there is also extensive duplication between PSUMF and PSAMF,
and between DSMF and DSAMF, the Court relies principally on PSUMF and
DSMF and includes herein only new material facts proposed in PSAMF and
DSAMF. The Court also endeavored to rule on objections to proposed facts;
however, given the number of objections asserted, it was not possible to do so
without extending this already lengthy Report and Recommendation. If there is no
discussion of an objection asserted and the proposed fact is included herein, then a
party may assume that the objection was considered but overruled.
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      A.    The Juvenile Court, CASA, and Relevant Employees

      The Juvenile Court of Clayton County adjudicates cases involving

delinquency, abuse, and neglect of children and consists of three judges, including

a Chief Judge appointed by the judges of the Superior Court of Clayton County.

(DSMF ¶ 1.) In managing its case load, the Juvenile Court utilizes court-appointed

special advocates, who are trained volunteers (sometimes called “CASA volunteers”

or “CASAs”) supervised by Juvenile Court employees. (DSUMF ¶ 2, lines 1-3.)2

Clayton County CASA, short for “Court-Appointed Special Advocate,” is a

program within the Child Welfare Division of the Juvenile Court of Clayton County.

(PSUMF ¶ 1.) Clayton County CASA employees coordinate the assignment of

CASA volunteers to be the “eyes and ears for the judge” and to be advocates for

the child in cases of abuse and neglect. (Id. ¶ 2, modified per DR-PSUMF ¶ 2.)

These volunteers investigate the child’s overall situation, prepare a report, and




      2
         The training of Clayton County CASA volunteers to serve as court-
appointed special advocates is a vigorous process, including 40 hours of training
(and an additional 8 hours of training to serve as CASAs in custody cases in the
Superior Court) following a national curriculum, after which volunteers are sworn
in by a Juvenile Court judge and certified as CASA volunteers. (DSUMF ¶ 3.)
Plaintiff testified, however, that an individual could volunteer for the CASA
program in multiple ways beyond becoming a court appointed special advocate.
(PR-DSUMF ¶¶ 2-3.)
                                      4
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advocate on behalf of the child in court (if the volunteer is available), which

involves interviewing and getting to know the child, interviewing the parents,

speaking with social workers, and gathering information about the child, all of

which requires an average time commitment of 6 to 8 hours per week. (PSUMF ¶

3, modified per DR-PSUMF ¶ 3; see also DSUMF ¶ 2, lines 4-7.)

      Steve Teske was appointed as an associate juvenile court judge with the

Juvenile Court of Clayton County on July 1, 1999, as a full juvenile court judge in

2003, and as Chief Judge in 2011. (DSMF ¶ 4; see also PSUMF ¶ 4.) Judge Teske

is now retired. (PSUMF ¶ 13.)

      Plaintiff Bostock began working at the Juvenile Court of Clayton County in

2003 as the CASA Program Coordinator. (PSUMF ¶ 7; see also DSMF ¶ 6.) At

some point, there was a reorganization and creation of Child Welfare Services,

which combined the Clayton County CASA Program and the Citizen Panel Review.

(PSUMF ¶ 8.) At this time, Mr. Bostock was named the Child Welfare Services

Coordinator or Chief of the Child Welfare Division. (Id. ¶ 9; see also DSMF ¶ 6.)

In his role as Chief of the Child Welfare Division, Mr. Bostock was charged with

recruitment, training, and retention of CASA volunteers as well as marshalling and

funding recruitment, training, and retention.    (PSUMF ¶ 10.)       He also was



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responsible for overseeing the programs of the Juvenile Court that worked with

victims of child abuse and neglect. (DSMF ¶ 6.)

      In 2009, Colin Slay became Chief of Staff at the Juvenile Court and

plaintiff’s immediate supervisor. (DSMF ¶ 7; see also PSUMF ¶ 11.) Mr. Bostock

also reported to John Johnson, who has served as the Juvenile Court Administrator

since 2003. (DSMF ¶ 7; see also PSUMF ¶ 12.) At the time of plaintiff’s

termination in 2013, Mr. Slay reported to Mr. Johnson, who in turn reported to

Judge Teske. (PSUMF ¶ 13, modified by DR-PSUMF ¶ 13.)3

      Mr. Bostock is gay, and his sexual orientation was well known to his

managers. (PSUMF ¶¶ 5-6.) Judge Teske, Mr. Johnson, and Mr. Slay were aware

that plaintiff was gay within a short period of time after he began working with the

Juvenile Court. (DSUMF ¶ 11.) Over the years, plaintiff had introduced his

partners (including Keith Sweat, who was plaintiff’s partner for 12 years, and Paul

Holland) to co-workers at the Juvenile Court (including Judge Teske, Mr. Johnson,

and Mr. Slay) at work and at functions sponsored by the Friends of Clayton County




      Following a restructuring in 2015, Mr. Slay began reporting to Judge Teske.
      3

(DR-PSUMF ¶ 13.)
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CASA, Inc. (Id. ¶ 12.) 4 Judge Teske, his wife, plaintiff, and his partner (Mr.

Sweat) socialized together on many occasions, including attending musicals, going

out for dinners, having barbecues and dinners at each other’s homes, and other

social gatherings; plaintiff and his new partner (Mr. Holland) also attended the

wedding of Judge Teske’s daughter. (Id. ¶ 14.) Plaintiff admits that neither Judge

Teske, Mr. Johnson (other than one alleged comment by Mr. Johnson in 2003 about

plaintiff not caring if female employees were interested in him), Mr. Slay, nor any

other juvenile court employee made any negative comments to him about being

gay. (Id. ¶ 15.)5




      4
        The Court excludes DSMF ¶¶ 5 and 13 as immaterial. The Court likewise
excludes DSMF ¶¶ 25 through 27 and DSAMF ¶¶ 28 through 29, which address
claimed issues with plaintiff’s job performance in past years, as immaterial.
Although plaintiff’s supervisors (including Judge Teske) may have shown leniency
to him by not disciplining or terminating him for the issues identified in those
proposed facts, nothing in the record connects those issues with plaintiff’s
discharge in 2013. All of these proposed facts may be relevant to a jury but not to
the undersigned in reviewing a motion for summary judgment.
      5
        Mr. Bostock claims that Mr. Johnson said at his termination, “This is not
because you are gay.” (PR-DSMF ¶ 15.) This comment (discussed infra) does not
contravene the statement preceding this note. Plaintiff also claims that he heard
from someone that the Chairman of the Clayton County Board of Commissioners
commented that he was uncomfortable being around plaintiff because of his
sexuality. (Id.) There is no evidence that the Commission Chairman had anything
to do with plaintiff’s discharge, so this hearsay assertion is immaterial. Thus,
DSMF ¶ 15 stands undisputed.
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      Finally, Judge Teske has co-authored articles on behalf of a national juvenile

justice non-profit advocating in support of LGBTQ youth, because the largest

group of homeless children are LGBTQ youth. Judge Teske also agreed with

plaintiff that Title VII should prohibit employment discrimination on the basis of

sexual orientation. (DSMF ¶ 5.)

      B.     Friends of Clayton County CASA, Inc.

      The Friends of Clayton County CASA, Inc. (“FCCC”) is a 501(c)(3) non-

profit entity formed to provide support to the Clayton County CASA program and

its director, increase public awareness of the program, help recruit volunteers, and

raise funds. (DSMF ¶ 8; see also PSUMF ¶¶ 14-15.) In addition to his duties at

the Juvenile Court, plaintiff had a role at FCCC. (PSUMF ¶ 14, modified by DR-

PSUMF ¶ 14.) The FCCC helped to recruit volunteers for the CASA program and

to secure funds to retain them. (PSUMF ¶ 16.) Sabrina Crawford served on the

FCCC Board from 2005 until 2013 and was its Chair for a majority of that time.

(PSUMF ¶ 17, modified per DR-PSUMF ¶ 17.)

      There are CASA-related activities undertaken by the FCCC that are not

associated with the Juvenile Court. (DR-PSUMF ¶ 16.) For example, the Darlin’

Duck Derby was the primary fundraiser for the FCCC, which typically was held on

the last Saturday of September, and would entail rubber ducks on a race course

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with numbers on them purchased by FCCC donors or sponsors. All money

generated by the Duck Derby, as well as from other donations and sponsorships,

were placed into an FCCC bank account. Because the FCCC was a non-profit, the

County had no oversight over the use of its funds. (DSMF ¶ 9, modified per PR-

DSMF ¶ 9.)

      Article VII, Section 2 of the FCCC’s By-Laws state as follows:

            Checks, drafts and other demands for money shall be signed by
      the Chairperson, or Treasurer. Additionally, other officers, from time
      to time, may be designated by the Board of Directors. The
      Chairperson and the Treasurer can sign checks for under $500. Two
      signatures are required for checks in excess of $500.

(Bostock Dep. Ex. 2 [132-3], at 6 (CLAYTON_000376), cited in DSMF ¶ 10.)

Despite this quoted language, plaintiff claims that the FCCC Board gave him

“spending authority” over certain money within its oversight. (PR-DSMF ¶ 10.)

        C. The Memorandum of Understanding

      Before 2007, in custody disputes pending in the Superior Court, its judges

would appoint a guardian ad litem (“GAL”) to represent the child(ren) at the

expense of the parents; the GAL would typically be an attorney. (DSMF ¶ 16.)

Because the Superior Court judges were having difficulty getting GALs appointed

when needed because the parties often could not afford the expense of an attorney,

Superior Court Judge Deborah Benefield approached Judge Teske with the idea of

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the Superior Court utilizing a Juvenile Court employee to serve as a GAL in

custody cases and to supervise volunteer GALs in custody cases, in exchange for

charging the parties a $500 administrative fee, which would be a more cost-

effective and affordable way for appointing a GAL to advocate on behalf of

children in Superior Court custody dispute cases. (Id. ¶ 17.)

       To formalize the agreement, the Chief Judge of the Superior Court at the

time (Matthew O. Simmons), the Chief Judge of the Juvenile Court at the time (K.

Van Banke) and plaintiff, as Clayton County CASA Program Coordinator, signed

a Memorandum of Understanding (“MOU”) in 2007, which provided that Clayton

County CASA would charge a $500 administrative fee (to be paid equally by both

parties) in child custody cases, and that these fees would be made payable to the

FCCC, in care of plaintiff. (DSMF ¶ 18, modified per PR-DSMF ¶ 18; see also

PSUMF ¶¶ 18-20.) Mr. Bostock asserts that the Superior Court judges wanted the

money to go to the FCCC in order to bypass Clayton County finance. (PSAMF ¶

13.)




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      The MOU states that the FCCC is the recipient of the administrative fee and

will use the fees to fund “volunteer recruitment, training, and retention.” (MOU,

Section II [141-2] 2.) 6 The parties differ on the meaning of the quoted language.

      The County contends that the administrative fees were to be used only for

the recruitment, training and retention of Clayton County CASA volunteers serving

as GALs and not for FCCC fundraising or marketing purposes or for the

recruitment, training and retention of other types of CASA volunteers. (DSMF ¶

19.) In contrast, plaintiff asserts that the MOU authorized him to use these fees to

fund “volunteer recruitment, training, and retention” of all types of CASA

volunteers. (PSUMF ¶ 21.) Plaintiff contends that the money obtained from the

administrative fee could be used to recruit CASA volunteers, in-kind services,




      6
         Mr. Slay agreed that the above-quoted directive on how fees could be spent
is not specific. (PSUMF ¶ 22.) However, it is difficult to come to any conclusion
but that the MOU intended the fees collected from families in custody disputes to
fund “volunteer recruitment, training, and retention” of persons to serve as
“CASA/GALs.” The MOU uses the quoted acronym 57 times over 6 pages in
describing the roles and responsibilities of CASA/GALs, their appointment and
assignment, how they gather information, how they report information, their
resignation or termination, and their supervision. Indeed, the MOU states that the
goal of providing CASA/GAL services to children involved in custody disputes
required the development of a working relationship between the Clayton County
Superior Court and the Clayton County CASA program and execution of the MOU.
(MOU, Goal para. [141-2] 1.)
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sponsorships, donors, and other aspects of recruitment as a relationship-building

process, and that individuals could volunteer for the CASA program in multiple

ways beyond just becoming court-appointed advocates or GALs. (PR-DSMF ¶ 19;

see also PSAMF ¶ 17.)

      The FCCC had two bank accounts: its own account and the GAL account.

(PSUMF ¶ 23.) The FCCC Board decided that the $500 administrative fee

collected under the MOU would go into the GAL account. (Id. ¶ 24; see also DSMF

¶ 20.)7 The MOU had no impact on money the FCCC collected from its fundraising

efforts and placed in its own bank account. (DSMF ¶ 20.)

      D.     Plaintiff’s Expenditure of Funds from the GAL Account

      Plaintiff testified that the MOU authorized the expenditure of GAL funds on

FCCC fundraising activities. (DSMF ¶ 21.) Plaintiff further testified that money

from the GAL account and money from the FCCC account could be spent for the

same purposes if related to recruitment, training and retention. (Id. ¶ 22, modified




      7
        Given that the administrative fee was collected from litigants and then
given to the FCCC, the money did not come from the County’s taxpayers and did
not belong to the Clayton County Courts. (PSAMF ¶ 14, modified per record
cited.) The MOU controlled how FCCC spent the money, and the Juvenile Court
put one of its employees—Mr. Bostock—in charge of that spending. The Court
excludes PSUMF ¶ 25 as unsupported by the record cited. (See DR-PSUMF ¶ 25.)
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per record cited.) Plaintiff’s expenditures from the GAL account did not need

approval from the FCCC Board. Plaintiff testified that the FCCC Board Treasurer

initially approved reimbursements for his expenditures from the GAL account, but

eventually gave him spending authority over the GAL account (but not over the

FCCC’s main account); the Board even provided plaintiff with a debit card for the

GAL account. (Id. ¶ 23, modified per PR-DSMF ¶ 23.) FCCC Board members

had the opportunity to review the GAL bank statements at each meeting. (PSUMF

¶ 26, modified per record cited.) According to long-time FCCC Board member

(and sometimes Chair) Crawford, Mr. Bostock would discuss how GAL funds

“were being spent during our board meetings.” (Crawford Dep. [133] 37.) Mr.

Bostock characterizes this as “oversight” from the FCCC board (PSAMF ¶ 23), but

in reality, the Board allowed Mr. Bostock to spend the GAL funds as he saw fit

because it did not consider the funds as belonging to the FCCC. (DR-PSAMF ¶

23.)

       In late-2011 or early-2012, Mr. Bostock began providing copies of bank

statements from the GAL account to Mr. Johnson and Mr. Slay for their review.

(PSUMF ¶ 27.)      Sometimes entries on the statements were annotated and

sometimes they were not, and in some months, Mr. Bostock did not provide

statements. (DR-PSUMF ¶ 27.). Mr. Slay reviewed the statements and generally

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found Mr. Bostock’s explanations for his expenditures to be satisfactory, in that

nothing “flew off the page as inappropriate.” (PSUMF ¶ 28; see also Slay Dep.

[140] 98-99, cited in DR-PSUMF ¶ 28 .) Mr. Johnson also reviewed the bank

statements submitted by Mr. Bostock. (PSUMF ¶ 29.) Mr. Johnson testified that

he had concerns about some of the expenses reflected in the statements. (DR-

PSUMF ¶ 29; see also DSMF ¶ 28.)8

      E.    Plaintiff’s Softball League

      In January 2013, Mr. Bostock began participating in the Hotlanta Softball

League (“HSL”), a gay men’s sports league. (PSUMF ¶ 30, modified per record

cited.) Mr. Bostock recruited members of the league to volunteer for CASA or to

sponsor events. (Id. ¶ 31.) Mr. Bostock also secured FCCC sponsorships from

certain league members. (Id. ¶ 32.)

      F.    Events Leading to an Audit of the GAL Account

      Leading up to 2013, the County’s Internal Audit Department made a

concerted effort to identify County departments or employees who handled cash or



      8
        Mr. Johnson asserts that when he questioned plaintiff about some of the
expenditures reflected in the bank statements, on a few occasions Mr. Bostock told
him it was “none of his business.” (DSMF ¶ 29.) However, Mr. Bostock denies
that he ever said that to Mr. Johnson. (PR-DSMF ¶ 29.) Mr. Johnson never
disciplined Mr. Bostock if he made such a statement. (Id.)
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were responsible for bank accounts about which it was unaware, as these were

viewed as liability risks. (DSMF ¶ 31, modified per record cited.) Accordingly,

when the Director of the County’s Internal Audit Department, Stacey Merritt,

spoke to Mr. Johnson about the upcoming scheduled audit of the Juvenile Court,

she asked him if there were any bank accounts being maintained by juvenile court

employees other than the bank account maintained by the clerk of the Juvenile

Court. Mr. Johnson informed her of a petty cash account he maintained as well as

the GAL account maintained by plaintiff. (DSMF ¶ 32.) When Mr. Johnson told

Ms. Merritt that he had concerns about the GAL account, including the fact that its

money was being kept in drawers, Ms. Merritt elected to speak with Mr. Bostock.

(Id. ¶ 33.)

       Ms. Merritt met with plaintiff for 10 to 15 minutes. (DSMF ¶ 33.) 9 Ms.

Merritt asked plaintiff standard questions, such as where money is stored, how is it

stored, how long it is stored, and who has access to it. (Id. ¶ 34, first sentence.)

Given Mr. Bostock’s responses to her questions, including his revelation that

multiple people received funds and had access to cash, she believed that an audit




       The record is unclear about when they met. However, on April 23, 2013,
       9

Ms. Merritt sent an email to Mr. Johnson about her conversation with plaintiff
(quoted infra). Thus, their conversation was on or before this date.
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should be conducted. (Id. ¶ 34, second sentence, modified per record cited.)

Therefore, on April 23, 2013, Ms. Merritt sent the an email to Mr. Johnson, which

reads in relevant part as follows:

      As part of our now annual cash audit I spoke with Gerald Bostock
      regarding the cash for CASA account (program). While this does not
      fall under the scope of the current cash audit of monies issued by the
      Finance Department, I am concerned by the lack of policies and
      procedures regarding this fund. Just from talking with him I see
      several possible grey areas and believe that there is definitely risk of
      inappropriate actions unless additional policies and procedures are put
      in place. I definitely believe this fund needs to be looked at more
      carefully in order to reduce future risk and assess current status.

      If you would like our assistance please send the [County Commission]
      Chairman an email regarding the situation. The Chairman can then
      officially assign this audit to my department and we can set up a date
      to begin. I believe we could make time to start in a few weeks.

(Pl.’s Ex. 92 [142-8] 236; see also DSMF ¶ 34, second-third sentences & DSAMF

¶ 36; PSUMF ¶ 36.)

      It was necessary to obtain authorization from the Chairman of the Board of

Commissioners, Jeff Turner, and from Judge Teske to conduct a full audit of the

GAL account in the near future; otherwise, the full audit would have been




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scheduled for later after other audits already scheduled had been completed.

(DSMF ¶ 35.)10

      On April 30, Mr. Johnson sent Ms. Merritt the following email with the

reference, “CASA Audit”:

      Attached is the MOU between the Superior Court of the State of
      Georgia for the county of Clayton and Clayton County CASA. Please
      look at Section II. Administrative Fee as this pretty much sums it up
      and what is expected. The Chief of Staff, Colin Slay and myself have
      concerns with the lack of oversight with regard to this fund collected
      via the MOU between the above mentioned organizations. These
      funds are designated to support volunteer recruitment, training and
      retention for the Juvenile Court’s CASA Program, and they are
      collected by several Juvenile Court employees who many times
      receive cash at an amount of $500.00 per case. Further the Juvenile
      Court’s Child Welfare Coordinator apparently has access to spend
      these funds at this discretion all without any direct oversight authority
      by the Juvenile Courts Administration. As such we have no proper
      accounting of the collection and expenditure of these funds, and that
      concerns us. The employees of this coordinator have provided
      direction as where to find what they feel as inappropriate expenditure
      of these funds. Many of these funds have been spent on alcohol and
      most of these meetings have been held at night at bars and restaurants.
      We have a $15 million building and I ask the question why many of
      these meetings were held at night at bars and restaurants. I would like
      to see a complete audit/reconciliation of the GAL funds collected and



      10
         On the way to a golf tournament with Carol Gossett and Griffin Shirley on
April 29, 2013, Ms. Gossett inquired about what was going on with plaintiff; Judge
Teske replied that it would be difficult for him to keep his job after the upcoming
audit. (DSMF ¶ 37.) Plaintiff disputes that, asserting that Ms. Gossett told him
that Judge Teske had said “he was going to get rid of” him. (PR-DSMF ¶ 37.)
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      would like to revisit how these funds are utilized to ensure Friends of
      Clayton County CASA is meeting the stated objective of the MOU.

      Specifically, we11 have the following concerns:

      1)     How much money has been brought in under this MOU, and
             what has been spent?

      2)     How (on what) are the funds being spent? I have attached
             several receipts and bank statements with Mr. Bostock’s
             signature which appear[] inappropriate and personal in use.
             There are several receipts from liquor stores and
             (adult/alternative bars) that do not meet the proper use of these
             funds. There are several checks written out to the Honey
             Badgers softball team and a reception AT A Birmingham,
             Alabama hotel which are directly tied to a softball team which
             Mr. Bostock is a member of. To, me, this appears to be a
             conflict of interest at best.12

      3)     There appears to be at least (2) debit/credit cards that Mr.
             Bostock has at his leisure with no accounting to as far as the
             Juvenile Court is concerned.

      4)     What, if any, is the structure for the expenditure of these funds
             (does the Friends’ Board vote on them)[?] Is there a policy in
             place? Who had discretionary spending authority?

      5)     On at least two (2) occasions, Mr. Bostock has told me and Mr.
             Slay that we have no authority to look into the books, and
             spending of this account which is surely a “red flag” which


      11
         Mr. Johnson testified the “we” referenced above included himself, Mr.
Slay, and Judge Teske. (PSUMF ¶ 37, modified per record cited.)
      12
          Mr. Johnson testified that “adult/alternative” bars meant gay bars or gay-
friendly bars. (PSUMF ¶ 35.) As noted above, Mr. Johnson mentions plaintiff’s
softball team. (Id. ¶ 36.)
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             warrants investigation. Mr. Bostock even made this statement
             to Mr. Slay and myself within hours after you talked to him.

(Pl.’s Ex. 94 [142-8] 238; see also DSMF ¶ 38, first sentence; PSUMF ¶ 34.)

      On May 1, 2013, Judge Teske wrote a memo to Commission Chairman

Turner requesting a formal audit of the GAL account. (PSUMF ¶ 38.)13 Chairman

Turner authorized the audit based on Ms. Merritt’s recommendation, an email from

Shawn Black alleging that plaintiff was not spending the GAL funds

appropriately, 14 Carol Gossett’s previous statement to Judge Teske during a

swearing-in ceremony for CASA volunteers that there were not sufficient funds in




      13
        Because PSUMF ¶ 39 inaccurately states the reason for the audit, the Court
excludes it as unsupported by the record cited.
      14
          On January 17, 2013, Shawn Black, a Juvenile Court employee whose
employment had just ended, sent an email to Mr. Johnson (who then gave it to
Judge Teske and Mr. Slay) asserting that plaintiff had engaged in misconduct,
including that (1) “Duck Derby and GAL funds are spent to buy alcohol, lunches
for staff that he chooses to hangs with”; and (2) GAL funds “have been used to
move Gerald’s furniture during the courthouse move, paying for him to treat people
to lunch, removing a boot from his car because he parked illegally, many other
things that should not be included in charity money expenditures.” (DSMF ¶ 30.)
Plaintiff correctly notes that the subsequent audit did not address the items
mentioned in Mr. Black’s email. (PR-DSMF ¶ 30.) However, the Court includes
the email in the chronology because it was one of the pieces of information which
led the County to audit the GAL account. The Court further overrules plaintiff’s
hearsay objection, as the information therein is either not hearsay (because it is not
offered for the truth of the matter) or if hearsay, could be reduced to admissible
evidence by calling Mr. Black to testify at trial.
                                        19
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the GAL account to pay for the usual amenities for these new CASA volunteers,

and Mr. Slay’s recommendation that it would be preferable for a professional

accountant to review the bank statements for the GAL account that he had been

reviewing. (DSMF ¶ 36.)

      Also on May 1, 2013, Judge Teske sent an email to Mr. Johnson (with copies

to Mr. Slay and Ms. Merritt), stating as follows:

      After further consideration of auditing CASA fiscal books, I am
      concerned to learn that the GAL monies from the Superior Court cases
      are given to Friend[s] of CASA—a nonprofit entity separate from the
      County and Juvenile Court for which we have no authority to gain
      access. Thank you for obtaining the MOU signed by the prior Chief
      Judge that authorizes the monies to go to Friends of CASA. As the
      current chief judge, I have concerns about this arrangement because
      this is a county employee for which we have agreed to loan to the
      Superior Court that consequently removes direct services to our
      children under our jurisdiction. I agree that the consideration for us is
      to reduce the number of cases transferred to us from the Superior
      Court. I have no problem with the CASA/Superior Court program,
      but I do have a problem with the monies received from that program
      going to a third party with no oversight. These monies are generated
      by a county employee during county work hours for which the
      juvenile court should have control with county finance oversight.

      Therefore, I am directing you to take the MOU to legal and have them
      change the paragraph regarding where the monies go reflect instead to
      the Clerk of the Juvenile Court to be designated as a line item titled
      GAL Superior Court Program and to be dispersed to support the
      [CASA program] (using the current language of the MOU) in
      accordance with the policies and procedures of the county for
      disbursement of said funds. [P]lease have the attorney place my name


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      and Judge Deborah Benefield as the signatories. I will present it to
      Judge Benefield.

      Also, until this MOU is executed, I am unilaterally directing you to
      inform Mr. Bostock that all GAL funds from parties in superior court
      shall be made out to The Clerk of the Juvenile Court of Clayton
      County. You are to direct Robin to create on the books as we do for
      supervision fees a line item titled GAL Superior Court Fees. Mr.
      Bostock may request use of those fees in support of the CASA
      program using the same process used to request supervision fee funds.

      This process shall remain in full force and effect until I receive
      recommendations from the internal audit.

      I do want to know how Mr. Bostock responds to this directive. If it
      becomes necessary, please inform him that the CASA program is a
      county program, not private, and that the Chief Judge is responsible
      for the operations of all court programs, including CASA.

(Pl.’s Dep. Ex. 59 [141-17] 1; see also PSAMF ¶ 33.)

      G.     Conduct of the Audit

      Before associate internal auditor Leslie Moore began her work, Mr. Johnson

met with her and stated that he wanted to find out about the use of the funds in the

CASA GAL account because he had concerns that they might have been spent

improperly. (PSUMF ¶ 40, modified per record cited; see also DSMF ¶ 38, second

sentence.) Mr. Johnson also told Ms. Moore that plaintiff was gay, although she




                                       21
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did not consider that fact relevant to the audit. (PSUMF ¶ 40, modified per record

cited.)15

       Ms. Moore interviewed Mr. Bostock and found him to be cooperative and

forthcoming. (PSUMF ¶ 43.) She also interviewed Ms. Gossett and Deborah

Stinson, who was a member of the FCCC Board, and asked plaintiff follow-up

questions. (DSMF ¶ 39, modified per PR-DSMF ¶ 39.) Ms. Moore also reviewed

bank statements for the GAL account provided by plaintiff and made notations on

some of them. (DSMF ¶ 40.) She observed that about six months of bank

statements were missing, as well as some receipts that supported reimbursements.

(Id. ¶ 41, modified per record cited.) However, Ms. Moore had no specific

recollection of asking Mr. Bostock if he could locate the missing records. (Moore



       15
         Mr. Johnson did not tell Ms. Moore in their conversation that he had been
reviewing GAL account bank statements provided by Mr. Bostock over the past
couple years. (PSUMF ¶ 41.) Ms. Moore testified that it would have been
important to know that information. (Id. ¶ 42.) This is because Mr. Johnson was
requesting an audit and asserting a lack of oversight and ignorance on where the
funds were being spent. But, if Mr. Johnson had been keeping tabs on the bank
statements, then his audit request would have made no sense. (Id., modified per
record cited.) However, as the County correctly points out, Ms. Moore should have
assumed Mr. Johnson had some familiarity with the bank statements given that he
mentioned them in his April 30 memo and attached some excerpts thereto. (DR-
PSUMF ¶¶ 41-42.) Moreover, Ms. Moore avers that, even had she known that Mr.
Johnson was reviewing the bank statements, it would not have changed the findings
of the audit. (Moore Decl. [136-5] ¶ 5.)
                                      22
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Dep. [142-7] 19.) Although FCCC was the owner of the GAL account, Ms. Moore

did not ask anyone at FCCC for copies of the missing records. (PSUMF ¶ 44.)

      When Ms. Moore noticed establishments listed on the bank statements where

plaintiff had spent GAL funds that she did not recognize, she looked them up on

the internet to find out more about them and where they were located; on a few

occasions, she printed out pages from websites maintained by those establishments

and made notes on them, circled some entries, or highlighted some entries. She

also looked up plaintiff’s softball league—HSL—which had an Atlanta address on

the internet to find out more about it. (DSMF ¶ 42.) 16 Ms. Merritt also reviewed

the bank statements and other information that Ms. Moore had gathered, discussed

the audit with Ms. Moore as it was ongoing, and reviewed and made minor

revisions to the audit report that Ms. Moore prepared. (Id. ¶ 43.)




      16
         The audit file contains a copy of a webpage from Blake’s on the Park in
Atlanta (Pl.’s Ex. 82 [142-7] 53); a copy of a webpage for the HSL with a notation
reflecting the address of its playing field in Atlanta (id. at 54-56); a copy of a
webpage for Cowtippers Atlanta (Pl.’s Ex. 83 [142-7] 57); a copy of a webpage for
Woofs Atlanta, with a circle drawn around the words, “Atlanta First and ONLY
Gay Sports Bar” (id. at 58-59); a copy of a webpage for Canoe Atlanta (id. at 60);
and a copy of a webpage for Joe’s with a highlight over its request to “Join us at
Joe’s on Juniper, Atlanta’s favorite neighborhood gay bar and restaurant.” (Pl.’s
Ex. 84 [142-7] 61; see also PR-DSMF ¶ 42; PSAMF ¶ 40.)
                                       23
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      H.     Audit Findings

      The audit found that the Child Welfare Services Coordinator (Mr. Bostock)

was the primary custodian of the GAL account, processed payments and

reimbursements, wrote checks, and made deposits; that the moneys collected were

kept in a locked drawer inside of a locked office until deposited; and that plaintiff’s

activities with the GAL funds were “a direct violation of separation of duties.”

(DSMF ¶ 44, citing audit report, copy filed as Pl.’s Ex. 10 [142-8] 209-16.) 17 The

audit recommended that all GAL administrative fees be deposited with the Clerk

of the Juvenile Court, and this change was made while the audit was ongoing. (Id.

¶ 45.) 18 The audit further noted that, according to FCC board member Stinson,

“most fund expenses and anticipated expenses should be discussed at board

meetings.” (Audit Report, Pl.’s Ex. 10 [142-8] 212.) However, the auditors’

review of the GAL bank statements led them to “believe that there is very little




      17
        Ms. Moore testified that “separation of duties” means that “you have one
person receiving funds … [and] another person who may do reconciliation of the
funds. And you may have another person that actually deposits the funds.” (Moore
Dep. [137] 71-72.) Ms. Moore agreed that having one person perform all of these
tasks was not illegal but was not the best accounting practice. (Id. at 73.)
      18
        Available bank statements showed that between February 2011 and April
2013, $14,853.28 in administrative fees were deposited into the GAL account.
(DSAMF ¶ 47.)
                                        24
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oversight concerning the day-to-day and weekly expenditures from the account.”

(Id.; see also DSMF ¶ 46, quoting Audit Report.) The audit stated that plaintiff,

who had discretionary spending authority over the GAL account, had two

debit/credit cards imprinted with his name—one for the FCCC account and one for

the GAL account. (Audit Report, Pl.’s Ex. 10 [142-8] 212.) The audit covered the

period from February 2011 through April 2013. (Id. at 213.) Bank statements were

not available for January 2011, May-June 2012, and September-October 2012.

(Id.) The audit noted that “[m]issing bank statements give way to speculation of

impropriety. Lack of an audit trail should be considered a red flag to management.”

(Id.; see also DSMF ¶ 47.)19

      The audit recommended that the GAL account be reconciled on a monthly

basis to “prevent any misuse of funds” and that “[s]trict guidelines regarding meals

and entertainment should be initiated and enforced by all managing parties;

especially disbursements concerning alcohol.” (DSMF ¶ 51.) The audit also found

that plaintiff used GAL funds to sponsor a softball team (of which he was a




      19
        As noted above, Ms. Merritt did not recall asking Mr. Bostock for the
missing bank statements and she did not ask FCCC for them. Moreover, Ms.
Moore testified that the audit did not conclude that plaintiff had stolen any money.
(Moore Dep. [137] 82, 85.)
                                       25
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member) that is a part of the HSL out of the City of Atlanta, and that the expenses

incurred with this sponsorship included a reception held in Birmingham, Alabama.

(Id. ¶ 52.) 20 The audit concluded that (1) “sports league sponsorships do not fall

within the current intentions of the GAL account”; (2) if the Chief Judge decides

that such expenditures are acceptable, the MOU should be amended accordingly;

(3) any CASA-sponsored sports leagues should be based in Clayton County; and

(4) any standard operating procedures developed should require written requests

and authorization for all sponsorships. (Id. ¶ 53.)

      The audit found that, from February 2011 to April 2013, a total of $5,510.42

in GAL funds (not including the expenditures contained in the six months of

missing bank statements) was spent on “Miscellaneous” expenses, which included

purchases at retail store such as Lowes and Home Depot. (DSMF ¶ 48.) The audit

also found that, from February 2011 to April 2013, a total of $3,495.48 in GAL




      20
        Judge Teske testified that Mr. Bostock should have consulted with him
before spending money on softball uniforms. (Teske Dep. [141] 195, cited in
PSUMF ¶ 55.) Judge Teske agreed, however, that Mr. Bostock had consulted with
the FCCC board about it and to his knowledge, they “approved” it. (Id.) That
approval is in quotation marks because, as noted elsewhere herein, although the
FCCC Board may have been the owner the GAL account, it did not approve
expenditures; instead, the Board relied on Mr. Bostock to spend those funds in
compliance with the MOU.
                                       26
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funds (not including the expenditures contained in the six months of missing bank

statements) was spent on “Recruitment, Training, Retention;” that all or almost all

of the “Recruitment, Training, Retention” expenses incurred in 2011 (100%) and

2012 (98%) were for meals and entertainment; and that 57% of the “Recruitment,

Training, Retention” expenses incurred during the first four months of 2013 were

for meals and entertainment. (Id. ¶ 49.) Finally, the audit found that many of the

meals and entertainment expenses for “Recruitment, Training, Retention”

consisted of “lunch and dinner meetings at restaurants and bars;” that many of these

restaurants and bars “were located outside the Clayton County area;” that “details

of the disbursements were missing from many of the actual transactions;” and that

“there was evidence of GAL funds being expensed on alcoholic beverages at

restaurants, bars, and package stores.” (Id. ¶ 50.) 21 Plaintiff does not dispute that




      21
          The parties dispute whether GAL funds could be used to purchase alcohol.
Plaintiff contends that nothing in the MOU prohibits it. (PSAMF ¶ 18.) Moreover,
Mr. Bostock claims that no one ever told him that use of GAL funds to purchase
alcohol was an issue, including Mr. Johnson, who reviewed receipts submitted to
him that reflected in part the purchase of alcoholic beverages as part of recruitment,
training, and retention expenditures. (Id. ¶ 19.) In contrast, the County asserts that
its policies prohibit the use of County funds to purchase alcohol, and that FCCC
policies prohibit the use of its funds to purchase alcohol. (DSMF ¶ 71.) Judge
Teske, Mr. Johnson, Mr. Slay, and the auditors concluded that, because the funds
deposited into the GAL account pursuant to the MOU were generated from fees

                                        27
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the information stated above is found in the audit, but notes that the categorization

of expenses was the auditors’ interpretation, and that while documents may have

been missing, the auditors made little effort to locate them. (PR-DSMF ¶¶ 48-50.)

      I.     Post-Audit Meeting

      Ms. Merritt and Ms. Moore met with Mr. Johnson and Ms. Slay for about an

hour on May 23, 2013, summarized for them the findings and recommendations of

the audit, gave them a copy of the Audit Report, and also gave a hard copy of the

Audit Report to Judges Teske and Benefield. (DSMF ¶ 55.) It is not the typical

practice of the Internal Audit Department to recommend personnel action by

County departments and, consistent with that practice, Ms. Merritt and Ms. Moore

did not make any recommendations as to what, if any, disciplinary action should

be taken against plaintiff as a result their findings and left this decision up to the

Juvenile Court administration. (Id. ¶ 56.) Thus, the Audit Report neither stated

that Mr. Bostock had engaged in any wrongdoing nor suggested that he should be




charged by the Superior Court, the County’s prohibition on the use of its funds to
purchase alcohol applied, and that plaintiff’s use of the GAL funds to buy alcohol
was impermissible. (Id. ¶ 72.) The Court excludes PSAMF ¶ 41 as immaterial.
                                        28
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disciplined. (PSUMF ¶ 59.) 22 However, it was the auditors’ conclusion that Mr.

Bostock had spent funds from the GAL account on activities or events that were

not authorized by the MOU, and that the changes they recommended were intended

to prevent that from occurring in the future. (DSMF ¶ 54, modified per record

cited.)

          J.   Judge Teske’s Response to the Audit

          Soon after receiving the Audit Report, Judge Teske, Mr. Slay and Mr.

Johnson met with Renee Bright (the County’s Human Resources Director), Ms.

Moore, and Ms. Merritt to discuss it. Judge Teske and Ms. Bright agreed that Judge

Teske would prepare written questions for plaintiff to answer so that he would have

an opportunity to respond to the audit’s findings before any personnel decision was

made. (DSMF ¶ 57.)

          On May 28, 2013, plaintiff received a memorandum from Mr. Johnson

(dated May 24) instructing him to respond by May 31, 2013 to ten questions




         Ms. Moore did not consider it an inappropriate use of GAL funds to take
          22

people to lunch to try and recruit them. (PSUMF ¶ 56.) Ms. Moore also testified
that Mr. Bostock’s recruiting efforts within the gay community did not mean that
he was spending money on his own interests. (Id. ¶ 50.) Mr. Johnson testified that
there was no restriction in the MOU with respect to Mr. Bostock recruiting or
training in Midtown Atlanta. (Id. ¶ 57.) Finally, Mr. Slay testified that engaging
in a recruiting event at a gay bar would not be an improper use of funds. (Id. ¶ 58.)
                                       29
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prepared by Judge Teske relating to the audit’s findings, including (1) plaintiff’s

purchases at retail stores; (2) the six months of missing bank statements identified

in the audit; (3) the many charges at restaurants and bars outside Clayton County;

and (4) plaintiff’s sponsorship of his softball team, including a reception in

Birmingham. (DSMF ¶ 58; see also Pl.’s Ex. 80 [141-23], copy of memorandum.)

      On May 31, 2013, plaintiff submitted to Mr. Johnson his written responses

(erroneously dated May 28, 2012) to Judge Teske’s written questions regarding the

findings of the audit, which Mr. Johnson and Mr. Slay brought to Judge Teske.

(DSMF ¶ 59; see also Pl.’s Ex. 81 [141-24], copy of memorandum,) In response

to Judge Teske’s written questions instructing plaintiff to explain the numerous

restaurant and bar expenses outside of Clayton County, Mr. Bostock identified

numerous restaurant and bar expenses.         (DSMF ¶ 60.) 23      Some of those

establishments listed were in Midtown Atlanta and catered primarily to a gay




      23
         Defendant contends that “most” of those expenses listed by plaintiff in his
memorandum did not relate to the training, recruitment or retention of Clayton
County CASA GAL volunteers, but rather related to marketing, awareness, and
fundraising endeavors and events for FCCC or other entities. (DSMF ¶ 60.)
However, the record defendant cites to supports this contention (Pl.’s Ex. 81 [141-
24] and excerpts from Mr. Boston’s deposition) fails to do so.
                                       30
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clientele, including F.R.O.G.S., Cowtippers, Woofs, Blakes, and Joe’s on Juniper.

(Id. ¶ 61.)24

       In response to Judge Teske’s written questions as to why it was appropriate

for GAL funds to be used to sponsor plaintiff’s softball team, including the

Birmingham reception, Mr. Bostock responded as follows:

       The sponsorship of a HSL softball team in Atlanta was discussed with
       Friends of Clayton County CASA Inc board members Guy Alexander
       and Sabrina Crawford prior to committing the funds. The intent
       behind this sponsorship was clearly to promote the Clayton County
       CASA program, recruit potential volunteers, educate the Atlanta area
       about child abuse and neglect issues, and to secure potential Darlin'
       Duck Derby sponsors and derby ticket sales. HSL is an active city
       member of the Amateur Sports Alliance of North America (ASANA)
       and the North American Gay Amateur Athletic Alliance (NAGAAA),
       and happens to be the second largest league in the United States. It
       attracts primarily male participants throughout the Atlanta area,
       including Clayton, Cobb, Dekalb, Fulton, and Gwinnett counties.
       Male volunteer recruitment is a high priority for all CASA programs,
       and there is no residency requirement for volunteers. Sponsorship
       allowed the program name to be listed on the team t-shirt, posted on
       the team banner which is displayed at every game during the ten week
       season (which will run through July) as well as displayed at
       tournaments (including Birmingham, which was held in March), and
       to receive three separate email acknowledgements to league members.
       The sponsored team is in the D- Division, which is the largest division
       of HSL with 19 teams. Additionally, HSL selects an annual charity to


       24
         The Court sustains plaintiff’s objections to the remainder of DSMF ¶ 61,
as Judge Teske did not know when he directed plaintiff’s discharge that some of
the meals plaintiff bought were for a former boyfriend, and plaintiff denies he lived
in close proximity to Midtown Atlanta. (See PR-DSMF ¶ 61.)
                                       31
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      support with Lost N Found (Finding Safety and Shelter for Atlanta’s
      LGBT Youth) being the chosen organization for 2013. By educating
      league members on what CASA is and the volunteer services needed,
      it will place CASA in contention for possible selection by the league
      next year. Providing light refreshments at an informal reception in
      Birmingham, allowed opportunity to speak with league members as
      well as other athletes about CASA and the need for volunteers,
      specifically male volunteers. Recruitment has been on-going. Chris
      Burton with AT&T has assisted Clayton County CASA and other
      metro Atlanta CASA programs with a marketing campaign in the
      Atlanta area as a result of this sponsorship. Additionally, through this
      effort, two individuals volunteered for the annual GA CASA
      Luncheon and Fashion Show held in March (Scott Legnon with
      Children’s Healthcare of Atlanta, and Edwin Mesa, journalist with
      CNN). Clayton County CASA benefits from this event through state
      office support of Clayton County CASA volunteers by means of
      training, specifically pre-service metro training and also other in-
      service training opportunities including the annual Ga CASA
      conference. It is also anticipated that Dragon Con Atlanta will become
      a prize donor or sponsor for the 2013 Clayton County CASA Darlin'
      Duck Derby, and that league members will be purchasing duck derby
      tickets as well as assist selling them. Conversations with the Heery
      Corporation, which also sponsors a softball team, are also underway
      as a result of this sponsorship.

(Pl.’s Ex. 81 [141-24] 4-5.)25




      25
          The Court quotes Mr. Bostock’s lengthy written response instead of
sorting out the conflicting contentions of the parties. (Compare DSMF ¶ 62, with
PR-DSMF ¶ 62 & PSAMF ¶ 42.) The Court excludes DSMF ¶ 63 as unsupported
by the record cited. Judge Teske’s question asked Mr. Bostock to identify “any
volunteers for Clayton County CASA” he had recruited from sponsoring the
softball team, not “any Clayton County CASA GAL volunteers.” (See PR-DSMF
¶ 63.) Similarly, the Court excludes DSMF ¶ 24. The proposed fact states: “No

                                       32
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      Judge Teske reviewed plaintiff’s written responses to his questions and then

decided to terminate plaintiff because he concluded that most of the expenses from

the GAL account were not being used to recruit, train, and retain Clayton County

CASA GAL volunteers as required by the MOU, but rather for other purposes, such

as assisting FCCC with its fundraising endeavors, which Judge Teske characterized

as “taking from Peter to pay Paul.” (DSMF ¶ 65.)26 Judge Teske also concluded

that most of the expenses incurred by plaintiff using GAL funds at restaurants and

bars in Atlanta were not for recruiting, training, or retaining Clayton County CASA



individual ever became a Clayton County CASA GAL volunteer because of
Plaintiff taking him or her out to lunch or dinner.” (DSMF ¶ 24.) However, the
record cited shows that plaintiff was asked instead if he could “think of anyone
today who became a CASA volunteer after taking them out to lunch or dinner?”
(Bostock Dep. [132] 157.) Plaintiff answered by stating that he “would certainly
say yes” to whether anyone for whom he bought a meal became a CASA volunteer.
(Id.) Plaintiff contends that, at the Birmingham reception, he secured verbal
commitments for three CASA sponsorships, but due to the timing of his termination,
those commitments were not consummated. (PSAMF ¶ 43.) Plaintiff further
asserts that in at least one instance, an individual who was to begin the CASA
application process did not pursue it because of plaintiff’s discharge. (Id. ¶ 72.)
However, plaintiff made no mention of these putative volunteers when he
submitted his written response to Judge Teske’s questions.
      26
         The Court notes plaintiff’s contention that the reasons why Judge Teske
terminated him are disputed legal issues and that this proposed fact (and others that
follow it) are argumentative. (PR-DSMF ¶¶ 65-69.) However, the Court includes
them here because they articulate defendant’s legitimate, non-discriminatory
reasons for the discharge. The Court excludes PSAMF ¶¶ 54 through 55 as
immaterial and argumentative.
                                       33
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GAL volunteers to serve miles away in Clayton County. (Id. ¶ 66.) Judge Teske

further concluded that plaintiff’s use of GAL funds to sponsor an Atlanta softball

team, including the Birmingham reception, was not for recruiting, training, or

retaining Clayton County CASA GAL volunteers to serve miles away in Clayton

County. (Id. ¶ 67.) In addition, Judge Teske believed that the use of GAL funds

to sponsor the softball team was a personal benefit to plaintiff in that he enhanced

his credibility and prestige with team members by providing them with a T-shirt

bearing the Clayton County CASA logo at no expense and a free reception in

Birmingham. (Id. ¶ 68.)

      Finally, Judge Teske suspected that, because the audit found that there were

a number of missing bank statements and it was incredulous to him that Mr.

Bostock could be recruiting individuals in Midtown Atlanta to become CASA GAL

volunteers in Clayton County, some of the restaurant and bar expenses paid for

with GAL funds may have been for his own personal interest (such as meals with

his softball team teammates) and not for business-related purposes. However, even

if none of the restaurant and bar expenses were incurred for his personal interest,

Judge Teske believed that most of the expenses were still outside the scope of the

MOU because they were not for the training, recruitment, and retention of Clayton



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County CASA GAL volunteers. Thus, Judge Teske contends that he would have

terminated plaintiff on this ground alone. (DSMF ¶ 69.)27

      K.     Judge Teske’s Meeting With Ms. Crawford

      Before Judge Teske directed the termination of Mr. Bostock (discussed infra),

he and Mr. Slay visited the FCCC’s Crawford at her car dealership. Judge Teske

told Ms. Crawford that he was going to terminate Mr. Bostock. (PSUMF ¶ 64.)

According to Ms. Crawford, Judge Teske further stated that Mr. Bostock had

misused or stolen between $14,000 and $17,000 and that he had proof in the form

of bank statements. (Id. ¶ 65.) However, Ms. Crawford subsequently modified her

testimony and relayed that the Judge said Mr. Bostock “took, not necessarily stole[]”

the funds. (DR-PSUMF ¶ 65, modified per record cited.) She added that Judge

Teske told her that Mr. Bostock was using GAL funds to pay for things that he

should not have been using GAL funds to pay for. (Id.)28



      27
         The Court sustains plaintiff’s objection to DSMF ¶ 70 as immaterial. The
Court also excludes DSMF ¶ 73, which concerns what Judge Teske wrote in his
diary, as that topic is exhaustively covered infra.
      28
         Judge Teske denies telling Ms. Crawford that Mr. Bostock stole or
misused between $14,000 to $17,000. (PR-DSUMF ¶ 65.) He claims instead that
he told her an audit of the GAL account showed that Mr. Bostock had mishandled
or misused funds in the GAL account; that somewhere between $14,000 to $15,000
had been collected in the GAL account; and that a substantial amount of that fund

                                       35
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      For example, Judge Teske told Ms. Crawford that plaintiff had used money

from the GAL account to sponsor a softball team. (PSUMF ¶ 67, modified per

record cited.) Ms. Crawford testified that she was aware of Mr. Bostock using

GAL account funds to sponsor the softball team, and that no one on the FCCC

board thought it was a bad idea. (Id. ¶ 68, modified per record cited.) According

to Ms. Crawford, the FCCC board did not approve the use of GAL account funds

to sponsor plaintiff’s softball team because the board did not have authority to

spend GAL account funds. She understood that GAL account funds could be spent

at the discretion of the director (Mr. Bostock) based on the MOU. (Crawford Dep.

[133] 27-28, 44-45, 110, 112, 155-56, 161, cited in DR-PSUMF ¶ 33.)29

      Ms. Crawford further testified she told Judge Teske that she was in shock

over his decision to fire Mr. Bostock; he replied that plaintiff was spending money

at this place and that place. (Crawford Dep. [133] 42-43.) In Ms. Crawford’s

opinion, her questioning of the discharge decision apparently angered the Judge,




had been expended. (Id.) What was said during this meeting is disputed. The
Court sustains defendant’s objection to PSUMF ¶ 66 as immaterial.
      29
         Mr. Bostock contends that he notified both Ms. Crawford and her fellow
board member, Guy Alexander, of the sponsorship and both approved of it and
thought it was a good idea. (PSUMF ¶ 33, modified per record cite.)
                                      36
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leading him to slam his hand down on her desk and loudly exclaim, “But it was at

a gay bar.” (PSUMF ¶ 69, modified per record cited.) 30

      L.    Plaintiff’s Discharge

      On June 3, 2013, Judge Teske instructed Mr. Johnson to terminate Mr.

Bostock. (PSUMF ¶ 60.) Judge Teske was the ultimate decision maker concerning

the discharge. (Id. ¶ 61; see also DSMF ¶ 64.) At the meeting in which Mr. Johnson

carried out the termination, Mr. Bostock told Mr. Johnson that he knew what the

meeting was about, and Mr. Johnson responded, “This is not because you’re gay.”

(PSUMF ¶ 73.) Plaintiff was not provided a copy of the Audit Report. (Id. ¶ 74.)

Ms. Gossett, a gay woman, replaced plaintiff. (DSMF ¶ 74.)

      M.    Judge Teske’s Diary Entries and Testimony About Them

      On June 3, the day of Mr. Bostock’s discharge, Judge Teske made entries in

his diary, writing as follows: “Today is not a good day. I decided to terminate

Gerald Bostock, my child welfare coordinator. It turns out he has been using GAL

funds that are dedicated to the recruitment of Clayton County CASA volunteers,




      Judge Teske denies that he made this comment to Ms. Crawford. (DR-
      30

PSUMF ¶ 69.) Again, this is disputed fact.
                                      37
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their training and retention for meals with friends (former boyfriends—he is gay)31

and to sponsor his softball team in a gay softball league in Atlanta.” (Teske Diary,

filed as Pl.’s Ex. 43 [129-1] 10; see also PSUMF ¶¶ 45-46.) He also recorded the

following thoughts: “Employees told me Gerald said we do not have money—yet

he had a debit card and was buying meals for potential sponsors in Midtown

Atlanta—the gay district of Atlanta.” (PSUMF ¶ 48; see also id. ¶ 52, modified

per record cited.) Judge Teske further wrote, “It’s not the gay thing that upsets

me—it’s the appearance that because he is gay he is spending money on his own

interests—that’s a conflict.” (Teske Diary, filed as Pl.’s Ex. 43 [129-1] 11; see also

PSUMF ¶ 51.)32

      Judge Teske testified as follows about his diary entries:

      Q      Okay. So basically you concluded—you included in your
      journal that because Gerald is gay, he was spending money on his own
      interest, and that was a factor—

      A      No, that—


      31
          Judge Teske conceded at his deposition that he had no evidence that
plaintiff was having meals with former boyfriends. (PSUMF ¶ 47.) The audit also
did not show that Mr. Bostock was doing that. (Id. ¶ 49.)
      32
         On May 31, 2013, Judge Teske made a similar observation, writing in his
diary that the internal audit had shown that Mr. Bostock “did a number of things,
including sponsoring his gay softball team in a gay Atlanta softball league. It’s not
the ‘gay’ aspect of it, but the personal gain.” (Teske Diary, filed as Pl.’s Ex. 43
[129-1] 10.)
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    Q     —in your decision to terminate him; right?

    A      That I was very suspicious that that’s what was going on
    because he could not account for all the spending, and because it was
    that locale, which would be unique to him in that sense, and it’s in
    Atlanta on top of that. And it’s incredulous that he could be recruiting
    people in Atlanta to come down to Clayton County. All those number
    of things together in its totality of circumstances is what creates the
    more likely than not.

    Q      So it’s an assumption that—there is an assumption that because
    he is recruiting in Midtown that he is actually engaging in gay-related
    activity, and not serious CASA-related activity. That was your
    assumption; right?

          ...

    A     Yeah.

    Q     Is that a yes?

    A     I’m highly—yeah, I’m highly suspicious that he’s up there
    doing personal, more so personal than business stuff.

    Q     And by personal, you mean gay stuff; right?

    A     Well, it—you know, it—here’s the thing, it doesn’t matter
    whether you’re gay, you’re straight. What makes it suspicious that it
    was personal is because he is gay and he was in that venue, and
    spending money in the GAL account in that venue, which he could not
    account for all of the spending.

    Q      And that was a contributing factor in your decision to terminate
    him; right?

    A     It was a contributing factor, okay.

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    Q     Okay.

    A     All of those factors together in its totality.

    Q      Okay. So in your—in your diary in the section that involves
    Gerald’s termination, you use the word gay one, two, three, four, five,
    six, seven, eight times; right?

    A     Yes.

    Q     His sexuality was heavy on your mind?

          ...

    Q     Eight times; right?

    A     Yes. Of which, if I may say, that some of those times is to
    expressly state it’s not because he’s gay, but for other reasons.

          ...

    Q     [Mr. Bostock’s] sexuality was part of the reason that you drew
    the conclusions that are mapped out in your diary; correct?

    A      It was the connection between the fact that he is gay, and it’s in
    Midtown and so far away, he’s claiming he’s doing business there,
    that it’s incredulous that he could do the type of business that’s
    required in that—restricted in the MOU. It’s all those factors together.
    So if he’s not there doing business, what else is he doing? It begs the
    question.

    Q     So it must have been doing gay things?

    A     I wouldn’t phrase it that way.

    Q     But that’s kind of what you’re saying, isn’t it?

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      A      No— . . . it would be that he’s doing personal things.

      Q      Well, why, why if he’s just doing personal things would you
      pepper your journal entry about the reason you’re firing with the fact
      that he’s gay?

      A     Because it’s the relationship between that and the venue where
      the money was spent.

      Q      The venue being a gay venue?

      A      Yes.

(Teske Dep. [182] 177-79, 181-82, cited in PSUMF ¶¶ 53-54, 62-63.)

      N.     Judge Teske Meets with Court Staff

      Judge Teske held a meeting with the Juvenile Court staff to notify them of

Mr. Bostock’s termination. (PSUMF ¶ 70.) One of the employees present at that

meeting, Shelly Johnson, testified that Judge Teske relayed to them that Mr.

Bostock was terminated because he misappropriated funds in sponsoring the gay

softball team and that the court would not tolerate that type of behavior. (Id. ¶

71.)33 Judge Teske asserts that plaintiff’s use of GAL funds to support his softball



      33
          Mr. Johnson found the calling of this meeting and the discussion with the
staff to be inappropriate because personnel matters are usually confidential.
(PSUMF ¶ 72.) Judge Teske asserted that he called the meeting because news of
the termination would be on local television that evening and he did not want the
staff to be surprised. (DR-PSUMF ¶ 72.)
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team was not the only example of financial mismanagement that he mentioned

during the meeting. (DR-PSUMF ¶ 71.) 34

II.   SUMMARY JUDGMENT STANDARD

      A “court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” See Fed. R. Civ. P. 56(a). The party moving for summary judgment

bears the initial burden of “informing the court of the basis for its motion and of

identifying those materials that demonstrate the absence of a genuine issue of

material fact.” Rice-Lamar v. City of Fort Lauderdale, 232 F.3d 836, 840 (11th

Cir. 2000) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). Those




      34
         Plaintiff points to the testimony of Ms. Moore, who stated that the only
other person she was aware of who was terminated as a result of an audit was an
individual who stole money, which plaintiff did not do. (PSAMF ¶ 74.) The
County responds that the wrongdoers in subsequent Juvenile Court audits were not
terminated because Juvenile Court administration concluded that (1) grant funds
were being properly applied to the employees and positions identified in the audits
identified by Mr. Bostock; (2) one of the audits identified by plaintiff addressed the
actions of a former employee (who could not be terminated); (3) another audit and
related email identified by plaintiff addressed the need for the new Child Welfare
Coordinator to reconcile bank statements on a monthly basis; and (4) the remaining
audits identified by plaintiff addressed issues relating to the first year of a grant.
(DSMF ¶ 75.) Because comparator evidence is not necessary given the
recommendations in this case (discussed infra), the Court need not tarry over facts
related to the other audits.
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materials may include “depositions, documents, electronically stored information,

affidavits or declarations, stipulations (including those made for purposes of the

motion only), admissions, interrogatory answers, or other materials.” Fed. R. Civ.

P. 56(c)(1)(A). “Only when that burden has been met does the burden shift to the

non-moving party to demonstrate that there is indeed a material issue of fact that

precludes summary judgment.” Clark v. Coats & Clark, Inc., 929 F.2d 604, 608

(11th Cir. 1991).

      The non-moving party is then required “to go beyond the pleadings” and

present competent evidence “showing that there is a genuine issue for trial.”

Celotex, 477 U.S. at 324. Generally, “[t]he mere existence of a scintilla of evidence”

supporting the non-movant’s case is insufficient to defeat a motion for summary

judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). If in

response the non-moving party does not sufficiently support an essential element

of his case as to which he bears the burden of proof, summary judgment is

appropriate. Rice-Lamar, 232 F.3d at 840. “In determining whether genuine issues

of material fact exist, [the Court] resolve[s] all ambiguities and draw[s] all

justifiable inferences in favor of the non-moving party.” Id. (citing Anderson, 477

U.S. at 255).



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       In deciding a summary judgment motion, the court’s function is not to

resolve issues of material fact but rather to determine whether there are any such

issues to be tried. Anderson, 477 U.S. at 250. The applicable substantive law will

identify those facts that are material. Id. at 248. Facts that are disputed, but which

do not affect the outcome of the case, are not material and thus will not preclude

the entry of summary judgment. Id. Genuine disputes are those in which “the

evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Id. For factual issues to be “genuine,” they must have a real basis in the

record. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

(1986). When the record as a whole could not lead a rational trier of fact to find

for the non-movant, there is no “genuine issue for trial.” Id. at 587.

III.   DISCUSSION

       Plaintiff sued defendant for sexual orientation discrimination under Title VII.

This statute makes it unlawful for an employer to discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of

employment, because of, inter alia, such individual’s sex. 42 U.S.C. § 2000e-

2(a)(1). The Supreme Court held in Bostock v. Clayton County, Georgia, that an

employer illegally discriminates against an individual because of such individual’s



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sex if it makes an adverse employment decision based on sexual orientation. 590

U.S. ___, ___, 140 S. Ct. 1731, 1741, 1743 (2020). 35

      “Discrimination claims brought under Title VII . . . are typically categorized

as either mixed-motive or single-motive claims.” Quigg v. Thomas Cty. Sch. Dist.,

814 F.3d 1227, 1235 (11th Cir. 2016).36 Mr. Bostock alleges both claims here.

(Third Am. Compl. [101] ¶¶ 6, 31.)

      A plaintiff “can succeed on a mixed-motive claim by showing that illegal

bias . . . ‘was a motivating factor for’ an adverse employment action, ‘even though

other factors also motivated’ the action.” Quigg, 814 F.3d at 1235 (quoting 42

U.S.C. § 2000e-2(m)). “In contrast, single-motive claims—which are also known

as ‘pretext’ claims—require a showing that bias was the true reason for the adverse



      35
          When this case was initially filed, binding Eleventh Circuit precedent
required the undersigned to recommend dismissal of Mr. Bostock’s Title VII sexual
orientation discrimination claim. See Bostock v. Clayton Cty., No. 1:16-CV-
01460-ODE-WEJ, 2016 WL 9753356 (Nov. 3, 2016). The presiding United States
District Judge adopted that Report and Recommendation, see Bostock v. Clayton
Cty., 2017 WL 4456898 (July 21, 2017), and the Eleventh Circuit affirmed. See
Bostock v. Clayton Cty. Bd. of Comm’rs, 723 F. App’x 964 (11th Cir. 2018) (per
curiam). The United States Supreme Court reversed and remanded. See Bostock,
590 U.S. at ___, 140 S. Ct. at 1754.
      36
           Although Quigg noted that mixed-motive and single-motive
discrimination are different theories of discrimination as opposed to distinct causes
of action, it nonetheless referred to them as separate claims. 814 F.3d at 1235 n.4.
That happens here as well.
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action.” Id.; see also Fonte v. Lee Mem’l Health Sys., No. 20-13240, 2021 WL

5368096, at *4 (11th Cir. Nov. 18, 2021) (per curiam) (“A plaintiff who asserts a

single-motive discrimination claim can survive a motion for summary judgment by

showing that illegal bias was the only reason for the adverse employment action.”).

      “Single-motive and mixed-motive discrimination claims can be established

with either direct or circumstantial evidence.” Quigg, 814 F.3d at 1235 (citing

Desert Palace, Inc. v. Costa, 539 U.S. 90, 99-102 (2003)). Direct evidence is

evidence proving, without inference, that illegal reasons motivated an adverse

employment action. See Wilson v. B/E Aerospace, 376 F.3d 1079, 1086 (11th Cir.

2004). Circumstantial evidence is indirect evidence. Hamilton v. Southland

Christian Sch., Inc., 680 F.3d 1316, 1320 (11th Cir. 2012). Circumstantial evidence

“‘suggests, but does not prove, a discriminatory motive.’” Quigg, 814 F.3d at 1236

(quoting Wilson, 376 F.3d at 1086).

      Regardless of whether a plaintiff proceeds under the single-motive or mixed-

motive theory of discrimination, the Eleventh Circuit cautions as follows:

      “[O]ur sole concern is whether unlawful discriminatory animus
      motivated the decision.” Alvarez v. Royal Atl. Developers, Inc., 610
      F.3d 1253, 1266 (11th Cir. 2010) (cleaned up). “We do not sit as a
      super-personnel department, and it is not our role to second-guess the
      wisdom of an employer’s business decisions—indeed the wisdom of
      them is irrelevant—as long as those decisions were not made with a
      discriminatory motive.” Id. (quotation marks omitted). Thus, “an

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      employer who fires an employee under the mistaken but honest
      impression that the employee violated a work rule is not liable for
      discriminatory conduct.” Damon v. Fleming Supermarkets of Fla.,
      Inc., 196 F.3d 1354, 1363 n.3 (11th Cir. 1999). “And, in carrying out
      its business and in making business decisions (including personnel
      decisions), the employer can lawfully act on a level of certainty that
      might not be enough in a court of law.” E.E.O.C. v. Total Sys. Servs.,
      Inc., 221 F.3d 1171, 1176-77 (11th Cir. 2000).

Williams v. Hous. Auth. of Savannah, Inc., 834 F. App’x 482, 488 (11th Cir. 2020)

(per curiam).

      Both parties have filed motions for summary judgment. Given the standards

applicable to such motions (stated supra Part II), the Court must construe the

evidence in a light most favorable to the non-moving party on each motion. For

ease in that analysis, the Court addresses the motions separately below.

      A.     Plaintiff’s Motion for Summary Judgment

      Mr. Bostock seeks entry of summary judgment in his favor on two grounds.

First, with regard to his single-motive claim, plaintiff contends that Judge Teske’s

diary entries and his testimony about them constitute direct evidence of

discrimination (i.e., they show that his discriminatory animus was the “but for”

cause of his discharge). (Pl.’s Mem. [127-1] 13-22.) Second, with regard to his

mixed-motive claim, plaintiff asserts that Judge Teske’s diary entries and testimony




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about them show that plaintiff’s sexuality was a motivating factor in his discharge.

(Id. at 22-24.)

      Defendant rejects those contentions, asserting that there is no direct evidence

supporting plaintiff’s single-motive claim, but even if there were, arguing that a

reasonable jury could find that Judge Teske would have made the same decision in

the absence of any discriminatory animus. (Def.’s Opp’n [154] 4-18.) With regard

to plaintiff’s mixed motive claim, defendant takes plaintiff to task for providing

“virtually no argument for why he believes he is entitled to summary judgment on

establishing a mixed motive claim.” (Id. at 19-24.)

             1.    Alleged Direct Evidence Supporting Plaintiff’s Single-
                   Motive Claim

      As noted above, plaintiff asserts that he has direct evidence of discrimination

supporting his single-motive claim from the testimony of Judge Teske and his diary

excerpts. Direct evidence is that which reflects “a discriminatory or retaliatory

attitude correlating to the discrimination or retaliation complained of by the

employee.” Damon, 196 F.3d at 1358 (internal quotations marks and citation

omitted).    The statement claimed to constitute direct evidence must prove

discrimination “‘without inference or presumption.’” Wilson, 376 F.3d at 1087

(quoting Burrell v. Bd. of Trs. of Ga. Mil. Coll., 125 F.3d 1390, 1393 (11th Cir.


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1997)). Due to the “powerful” nature of direct evidence, the Eleventh Circuit has

marked severe limits for the kind of language that may be treated as direct evidence

of discrimination. Jones v. Bessemer Carraway Med. Ctr., 151 F.3d 1321, 1323

n.11 (11th Cir. 1998) (per curiam). Only the most blatant remarks, whose intent

could be nothing other than to discriminate based on a protected classification,

constitute direct evidence of discrimination. Scott v. Suncoast Bev. Sales, Ltd.,

295 F.3d 1223, 1227 (11th Cir. 2002). Evidence that is subject to more than one

interpretation does not constitute direct evidence. Taylor v. Runyon, 175 F.3d 861,

867 (11th Cir. 1999). If the alleged statement suggests, but does not prove, a

discriminatory motive, then it is circumstantial evidence. Burrell, 125 F.3d at

1393-94.

      A couple of cases show the high standard applicable to direct evidence. In

Damon, the Circuit wrote as follows:

      The most probative piece of alleged direct evidence cited by
      Appellants is a comment by Soto to Dennis D’Angelo, [plaintiff]
      Kanafani’s replacement, immediately after Kanafani’s termination
      that “what the company needed was aggressive young men like
      [D’Angelo] to be promoted.” While the statement was made right
      after Kanafani’s termination, and it was made by Soto, the decision-
      maker, to Kanafani’s younger replacement, the comment does not
      amount to direct evidence of discrimination. Though probative
      circumstantial evidence of Soto’s state of mind, the comment still
      requires us to infer that Soto’s interest in promoting young men
      motivated his decision to terminate Kanafani.

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Damon, 196 F.3d at 1359 (footnote omitted).

      Similarly, in Quigg, the plaintiff argued that she had direct evidence of

discrimination motiving the board of education’s vote not to renew her employment

contract. 814 F.3d at 1242 n.11. Three members of the board made the following

comments: (1) Nesmith told a parent that “it is time to put a man in there”; (2)

Morgan and Nesmith recommended to Quigg that she hire a tough “hatchet man”

to serve as assistant superintendent; (3) Morgan said to Quigg that she should

consider a male assistant superintendent because it is important to achieve gender

balance in the school administration; and (4) Hiers commented shortly after the

non-renewal vote that she voted against Quigg because Quigg “needed a strong

male to work under her to handle problems, someone who could get tough.” Id. at

1241. The Eleventh Circuit held that none of those statements met the high

standard necessary to constitute direct evidence:

      Although each statement indicates a desire for a male presence in the
      superintendent’s office, the statements all require inference to reach
      the conclusion that the Board members voted against Quigg based on
      her sex or gender. Nesmith’s “it is time we put a man in there”
      statement is illustrative. It is unclear whether this statement referred
      to the proposed assistant superintendent position, the office of the
      superintendent generally, or Quigg’s position. If the latter, the
      statement would clearly be direct evidence. But, a presumption or
      inference is required to conclude the statement referred to Quigg’s
      position, and if it referred to the proposed assistant superintendent

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      position or the office of the superintendent generally, it only shows a
      desire to have a male presence in the office of the superintendent.
      Such a desire does not necessarily lead to the conclusion that Nesmith
      wanted to remove Quigg–Nesmith may have wanted Quigg and a male
      to serve in the office of the superintendent together, with Quigg
      retaining her position. Thus, some presumption is required for the
      statement to be considered proof that Nesmith discriminated against
      Quigg based on her sex or gender.

Id. at 1242 n.11.

      In contrast, the Eleventh Circuit found direct evidence of discrimination in

the following illustrative cases: E.E.O.C. v. Alton Packaging Corp., 901 F.2d 920,

922, 923-924 (11th Cir. 1990) (decisionmaker’s statement that “if it were his

company, he wouldn’t hire any black people” constituted direct evidence of

discrimination); E.E.O.C. v. Beverage Canners, Inc., 897 F.2d 1067, 1068 & n.3,

1070 & n.6 (11th Cir. 1990) (frequent, flagrant, revolting, and insulting racially

derogatory remarks toward and in the presence of black employees by plant

manager and other supervisors, including frequent use of the N word, constitute

direct evidence of racially hostile working environment); and Miles v. M.N.C.

Corp., 750 F.2d 867, 876 (11th Cir. 1985) (racial slur uttered by the person in

charge of making employee evaluations and rehiring suggestions constituted direct

evidence of discrimination).




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      These three illustrative cases suggest that direct evidence of discrimination

would be testimony showing, for example, that Judge Teske said, “I fired Mr.

Bostock because he is gay,” or evidence revealing that Judge Teske made

derogatory remarks about gays. There is no such evidence in the record. In other

words, there is no evidence that Judge Teske is a homophobe. Instead, the record

shows that Judge Teske knew for many years that plaintiff is gay, socialized often

with him and his partner, invited plaintiff and his partner to his daughter’s wedding,

advocated on behalf of LBGTQ youth, and wrote in his diary that his problem with

plaintiff was not his sexual orientation but rather his spending from the GAL

account in locations and ways the Judge considered outside the parameters of the

MOU.

      Judge Teske’s diary entries and his testimony about them are not direct

evidence of discrimination, because they do not prove discrimination without

inference or presumption. Wilson, 376 F.3d at 1087. One must infer that Judge

Teske did not mean what he said in his diary (which was private and not intended

for disclosure) when he disclaimed an anti-gay motive. Or, one must presume that

Judge Teske was not actually concerned about where and how plaintiff was

spending GAL funds in contravention of the MOU, but was actually motivated by



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animosity toward gay individuals.37 Thus, the undersigned reports that plaintiff is

not entitled to summary judgment in his favor on his single motive sex

discrimination claim because of direct evidence.

      Nevertheless, even if one could find that Judge Teske’s diary and his

testimony about it constitute direct evidence, there is still another step in the

analysis. “A defendant presented with direct evidence of discrimination can rebut

the presumption that the [employment] decision was improperly motivated only by

proving by a preponderance of the evidence that the same decision would have

been reached even absent the impermissible factor.” Wilson v. City of Aliceville,

779 F.2d 631, 634 (11th Cir. 1986); see also Van Voorhis v. Hillsborough Cty. Bd.

of Cty. Comm’rs, 512 F.3d 1296, 1300 (11th Cir. 2008) (per curiam) (“In the face

of direct evidence, an employer must prove that the same employment decision

would have been made absent any discriminatory intent.”) (quoting Carter v. City

of Miami, 870 F.2d 578, 582 (11th Cir. 1989)); Fernandez v. Trees, Inc., 961 F.3d

1148, 1156 (11th Cir. 2020) (“Where a case of discrimination is proven by direct

evidence, the burden shifts to the defendant to prove ‘by a preponderance of the




      37
         Another example of Judge Teske’s lack of animus is seen in his selection
of a gay individual to replace plaintiff.
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evidence that the same decision would have been reached even absent the presence

of the discriminatory motive.’”) (quoting Miles, 750 F.2d at 875-76)).

      Construing the evidence in a light most favorable to the County as the non-

moving party, a reasonable jury could find that Judge Teske can rebut the

presumption that the employment decision was improperly motivated and that he

would have reached the same decision even absent a discriminatory motive.

Although plaintiff disputes the County’s position, a reasonable jury could credit

Judge Teske’s assertion that he believed plaintiff spent GAL funds in contravention

of the limitations of the MOU. He saw significant expenses for food and beverages

at establishments and in locations (Midtown Atlanta and Birmingham) that he

believed would not (and did not) yield CASA GAL volunteers down in Clayton

County.    The jury might agree with Judge Teske that plaintiff made these

expenditures for his own personal benefit. Moreover, the audit showed that there

was a factual basis for some of Judge Teske’s concerns. 38 In sum, there are

disputed issues of material fact which preclude the undersigned from



      38
         Although plaintiff claims several times in his various briefs that the audit
was instituted as a direct result of his joining the HSL, there is no probative
evidence to support that contention. As discussed supra, several legitimate factors
led to the audit. There is also no probative evidence that the auditors were biased
against plaintiff.
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recommending that plaintiff’s Motion for Summary Judgment be granted on his

single-motive sex discrimination claim.

             2.     Plaintiff’s Mixed Motive Claim

      A plaintiff raising a mixed-motive claim must offer evidence sufficient to

convince a jury that: (1) the employer took an adverse employment action against

him; and (2) a protected characteristic was a motivating factor for the employer’s

adverse employment decision. Bowen v. Manheim Remarketing, Inc., 882 F.3d

1358, 1364 (11th Cir. 2018); see also Gosa v. Wal-Mart Stores E., LP, Civ. No. 16-

0055-CG-B, 2017 WL 457198, at *8 (S.D. Ala. Feb. 2, 2017) (second factor of a

mixed-motive claim requires a court to determine whether a plaintiff has presented

sufficient evidence for a reasonable jury to conclude that his protected

characteristic was a motivating factor for an adverse employment decision). “The

test, therefore, is more lenient for a plaintiff than that required to bring a single-

motive claim.” Kingsley v. Tellworks Commc’ns, LLC, No. 1:15-CV-4419-TWT-

JSA, 2017 WL 2624555, at *30 (N.D. Ga. May 24, 2017), R. & R. adopted, 2017

WL 2619226 (N.D. Ga. June 15, 2017).39




      39
         “The McDonnell Douglas framework applies to only ‘single-motive’
claims based on circumstantial evidence.” White v. Winn Dixie, 741 F. App’x 649,

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      “If the employee can show that an unlawful reason was a motivating factor,

then the burden shifts to the employer to show that it would have made the same

decision in the absence of the impermissible motivating factor.” Bartels v. S.

Motors of Savannah, Inc., 681 F. App’x 834, 840 (11th Cir. 2017) (per curiam);

see also Huff v. Birmingham City Schs., No. 2:17-CV-02007-JEO, 2019 WL

498984, at *5 n.11 (N.D. Ala. Feb. 8, 2019) (“The ‘same decision defense’ is used

by Defendants to counter a mixed-motive discrimination claim.”).

      In this case plaintiff meets element one: It is undisputed that his employer

took an adverse employment action against him. As for element two, plaintiff

points to the Judge Teske deposition testimony, which he construes as an admission

by the Judge that plaintiff’s sexuality was a “contributing factor” in the discharge

decision. Assuming that a “contributing factor” is the same as a “motivating factor,”

plaintiff arguably meets element two. However, the County raises a triable issue

over whether it can show that Judge Teske would have made the same decision in

the absence of the impermissible motivating factor. Bartels, 681 F. App’x at 840.

As discussed supra in the direct evidence section, although plaintiff disputes




656 n.2 (11th Cir. 2018) (per curiam). It is not to be applied in mixed-motive
claims. Id.
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defendant’s position, viewing the facts in the light most favorable to defendant,

Judge Teske believed that plaintiff spent GAL funds in contravention of the

limitations of the MOU. Moreover, the audit showed that there was a factual basis

for some of Judge Teske’s concerns. In sum, there are disputed issues of material

fact which preclude the undersigned from recommending that plaintiff’s Motion

for Summary Judgment be granted on his mixed-motive sex discrimination claim.

      B.     Defendant’s Motion for Summary Judgment

      Defendant also moves for summary judgment on plaintiff’s single-motive

and mixed-motive discrimination claims. As before, the Court analyzes them

separately below.

             1.     Plaintiff’s Single-Motive Claim

                    a)    Background

      “In order to survive summary judgment, a plaintiff alleging intentional

discrimination must present sufficient facts to permit a jury to rule in h[is] favor.”

Lewis v. City of Union City, Ga., 918 F.3d 1213, 1220 (11th Cir. 2019) (en banc).

In a single-motive claim, a plaintiff may present sufficient facts to permit a jury to

rule in his favor in multiple ways:          (1) by introducing direct evidence of

discriminatory intent; (2) by satisfying the familiar burden-shifting framework set

out in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 800 (1973); or (3) by

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demonstrating a “convincing mosaic” of circumstantial evidence that warrants an

inference of intentional discrimination set out in Smith v. Lockheed-Martin Corp.,

644 F.3d 1321, 1328 (11th Cir. 2011). See Lewis, 918 F.3d at 1220 & n.6; see also

Williams v. Hous. Opportunities for Persons with Exceptionalities, 777 F. App’x

451, 454 (11th Cir. 2019) (per curiam) (holding that McDonnell Douglas and

Lockheed-Martin are alternative frameworks for analyzing circumstantial evidence

in single-motive claims).

      Mr. Bostock proceeds down all three lanes here. (Pl.’s Resp. [157] 3-20.)

As discussed supra in relation to plaintiff’s Motion for Summary Judgment, there

is no direct evidence of discrimination here. However, as shown below, plaintiff

has raised a triable issue on his single-motive sex discrimination claim under

Lockheed-Martin’s convincing mosaic; thus, there is no need to address the

McDonnell Douglas framework.

                   b)       Lockheed-Martin’s Convincing Mosaic

      “[E]stablishing the elements of the McDonnell Douglas framework is not,

and never was intended to be, the sine qua non for a plaintiff to survive a summary

judgment motion in an employment discrimination case.” Lockheed-Martin, 644




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F.3d at 1328. 40 Rather, “the plaintiff will always survive summary judgment if he

presents circumstantial evidence that creates a triable issue concerning the

employer’s discriminatory intent.” Id. The court explained that “[a] triable issue

of fact exists if the record, viewed in the light most favorable to the plaintiff,

presents ‘a convincing mosaic of circumstantial evidence that would allow a jury

to infer intentional discrimination by the decisionmaker.’” Id. (quoting Silverman

v. Bd. of Educ., 637 F.3d 729, 733 (7th Cir. 2011)).

      In Lockheed-Martin, the Eleventh Circuit found a convincing mosaic

because the defendant had an extensive and documented history of disparate

treatment of African-American employees and the defendant’s disciplinary review

committee relied upon a spreadsheet that listed the race of several employees. 644

F.3d at 1328. Similarly, in Lewis, the en banc Eleventh Circuit held that a

“convincing mosaic may be shown by evidence that demonstrates, among other

things, (1) suspicious timing, ambiguous statements . . ., and other bits and pieces

from which an inference of discriminatory intent might be drawn, (2)




      40
        “In other words, this ‘convincing mosaic’ method is a totality of the
circumstances analysis that is not subject to the formalities of the McDonnell
Douglas test.” Banks v. MarketSource, Inc., No. 1:18-CV-02235-WMR, 2020 WL
6291422, at *7 (N.D. Ga. Mar. 20, 2020).
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systematically better treatment of similarly situated employees, and (3) that the

employer’s justification is pretextual.” Lewis, 934 F.3d at 1185 (internal quotation

marked omitted).

      Although the undersigned has noted the lack of direct evidence showing that

Judge Teske fired Mr. Bostock simply because he is gay or that he made

disparaging comments about gay individuals, Judge Teske’s diary entries and his

testimony about them, construed in a light most favorable to plaintiff, constitute

circumstantial evidence that he was very focused on plaintiff’s sexuality. Judge

Teske wrote that plaintiff is gay eight times in a short diary excerpt. 41 He called

Midtown Atlanta the “gay district.”          Judge Teske’s testimony can even be

interpreted as stating that plaintiff’s sexual orientation was a “contributing factor”

in the termination decision. Judge Teske also assumed that because plaintiff is gay

and was spending GAL funds in some establishments that catered to a primarily

gay clientele, he was obtaining a personal benefit. Crediting Ms. Crawford’s

testimony at this stage, Judge Teske revealed that his concern arose because

plaintiff was spending GAL funds in gay bars. A reasonable jury could conclude



      41
         This many uses of the word “gay” undermines the County’s contention
that Judge Teske was simply making a legitimate recognition of plaintiff’s sexual
orientation. (Def.’s Mem. [138-6] 22.)
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that, while Judge Teske may not be a homophobe, plaintiff’s spending in gay bars

in Midtown Atlanta was a bridge too far for the Judge. Finally, crediting plaintiff’s

evidence about the meeting in which Judge Teske announced plaintiff’s discharge

to the staff, a reasonable jury could conclude that his assertion that the court would

not tolerate Mr. Bostock’s misappropriation of funds to sponsor a gay softball team

reflected discriminatory animus.

      “A triable issue of fact exists if the record, viewed in the light most favorable

to the plaintiff, presents enough circumstantial evidence to raise a reasonable

inference of intentional discrimination.”     Hamilton, 680 F.3d at 1320.         The

undersigned reports that enough circumstantial evidence of discrimination exists

here for plaintiff’s single-motive sex discrimination claim to survive summary

judgment. See Robinson v. City of Atlanta, No. 1:10-CV-02036-AT-AJB, 2012

WL 12836657, at *11 (N.D. Ga. July 27, 2012), R. & R. adopted, 2012 WL

12835876 (N.D. Ga. Aug. 31, 2012) (denying motion for summary judgment using

convincing mosaic framework where evidence showed that decision maker referred

to plaintiff as an angry black woman twice in months leading up to her termination).

As was the case in Smith, Judge Teske’s “injection of [plaintiff’s sexuality] into

[his] decision-making process yields an unavoidable inference that [Mr. Bostock’s

sexuality] impacted the discipline determination, and it is a jury’s province to

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decide whether [sexuality] actually bore on the decision to terminate [plaintiff].”

644 F.3d at 1346.

       C.    Plaintiff’s Mixed-Motive Claim

       To avoid summary judgment, a plaintiff raising a mixed-motive claim must

offer evidence (i.e., direct or circumstantial) sufficient to convince a jury that: (1)

the employer took an adverse employment action against him; and (2) a protected

characteristic was a motivating factor for the employer’s adverse employment

decision. Bowen, 882 F.3d at 1364; see also Gosa, 2017 WL 457198, at *8 (second

factor of a mixed-motive claim requires a court to determine whether a plaintiff has

presented sufficient evidence for a reasonable jury to conclude that his protected

characteristic was a motivating factor for an adverse employment decision). “If the

employee can show that an unlawful reason was a motivating factor, then the

burden shifts to the employer to show that it would have made the same decision

in the absence of the impermissible motivating factor.” Bartels, 681 F. App’x at

840.

       Just as the undersigned could not recommend entry of summary judgment

for plaintiff on this claim, it also cannot recommend entry of summary judgment

for defendant. Plaintiff has shown that the County took an adverse employment

action against him; and that evidence can be construed to suggest that a protected

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characteristic was a “contributing factor” in Judge Teske’s discharge decision.

Moreover, construing the facts in a light most favorable to plaintiff, the County has

not carried its burden of showing that Judge Teske would have made the same

decision in the absence of the impermissible motivating factor. A jury could

ultimately conclude that the County can carry that burden, but given the material

factual disputes here, the undersigned cannot recommend foreclosing this claim at

this stage of the case.

IV.   CONCLUSION

      For the reasons explained above, the undersigned RECOMMENDS that

Plaintiff’s Motion for Summary Judgment [127] be DENIED, and that Defendant’s

Motion for Summary Judgment [136] be DENIED. A jury should resolve the

disputed issues of material fact presented here.

      The Clerk is DIRECTED to terminate the reference to the Magistrate Judge.

      Given the disputed facts here, the parties are encouraged to mediate this

matter, either using a private mediator or a Magistrate Judge of this Court.

      SO RECOMMENDED, this 7th day of June, 2021.


                            __________________________
                            WALTER E. JOHNSON
                            UNITED STATES MAGISTRATE JUDGE

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